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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

ARTHUR CARSON,

               Plaintiff,

v.                                                  Civil Action No. 3:10-CV-1523-G-BK

OFFICER KELLY, et al.,

               Defendants.
                                            ORDER

        This cause came before the Court on Plaintiff’s Motion for Default Judgment against

Defendant Kelly. (Doc. 28). Plaintiff states that a default was entered against Defendant Kelly

when Kelly failed to answer or otherwise defend against Plaintiff’s complaint. However, a

review of the docket sheet reveals that no default has been entered against Defendant Kelly, and

Kelly filed a Motion to Dismiss Plaintiff’s complaint on March 17, 2011. (Doc. 25).

Accordingly, Plaintiff’s Motion for Default Judgment (Doc. 28) is DENIED.

        SO ORDERED on March 24, 2011.




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                                             RENÉE HARRIS TOLIVER
                                             UNITED STATES MAGISTRATE JUDGE
